956 F.2d 1162
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James Earl PARRISH, Petitioner-Appellant,v.David A. WILLIAMS, Warden, Respondent-Appellee.
    No. 91-7603.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 28, 1992.Decided Feb. 26, 1992.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.   Jackson L. Kiser, District Judge.  (CA-90-709-R)
      James Earl Parrish, appellant pro se.
      Richard Bain Smith, Assistant Attorney General, Richmond, Va., for appellee.
      W.D.Va., [Appeal after remand from 948 F.2d 1282]
      DISMISSED.
      Before WIDENER, K.K. HALL and MURNAGHAN, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      James Earl Parrish seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254 (1988).   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.   Parrish v. Williams, No. CA-90-709-R (W.D.Va. May 1, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    